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    1                        UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
    2                          WEST PALM BEACH DIVISION
                              CASE NO. 19-CR-80181-RAR-1
    3
         UNITED STATES OF AMERICA,                   Miami, Florida
    4
                                                     December 13, 2022
    5                vs.
                                                     10:09 a.m. - 5:36 p.m.
    6
         MINAL PATEL,                                Volume 12
    7
                        Defendant.             Pages 1 to 23
    8    ______________________________________________________________

    9
                              TRANSCRIPT OF JURY TRIAL
   10                 BEFORE THE HONORABLE RODOLFO A. RUIZ, II
                            UNITED STATES DISTRICT JUDGE
   11
         APPEARANCES:
   12

   13    FOR THE GOVERNMENT:             JAMIE DE BOER
                                         EMILY GURSKIS
   14                                    REGINALD CUYLER
                                         KATHERINE ROOKARD
   15                                    UNITED STATES DEPARTMENT OF JUSTICE
                                         CRIMINAL DIVISION, FRAUD SECTION
   16                                    1400 New York Avenue, 8th Floor
                                         Washington, D.C. 20005
   17
         FOR THE DEFENDANT:              STEVEN H. SADOW
   18                                    LAW OFFICE OF STEVEN H. SADOW, PC
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                                         Atlanta, Georgia 30303
   20
         STENOGRAPHICALLY REPORTED BY:
   21
                                ILONA LUPOWITZ, CRR, RPR, RMR
   22                           Official Court Reporter to:
                                The Honorable Rodolfo A. Ruiz, II
   23                           United States District Court
                                299 East Broward Boulevard
   24                           Fort Lauderdale, Florida 3301
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   25
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    1    (Appearances continued)

    2
         FOR THE DEFENDANT:                   DONALD F. SAMUEL
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    1              (Call to the Order of the Court.)

    2              THE COURT:    All right.    We are back in case number

    3    19-80181, United States v. Patel.        All the jurors have just

    4    arrived, so they are ready to go.

    5              Any issues before I go ahead and instruct them to

    6    continue deliberating, beginning with the government?

    7              MS. DE BOER:    We have the jury laptop ready.       The

    8    defense has inspected it.

    9              THE COURT:    Very good.    Thank you.    Make sure that when

   10    we break now, to present it to my CRD.        She'll get it back

   11    there so they can start using it.        I'll let them know that

   12    we're going to send it back.

   13              MS. DE BOER:    Perfect.

   14              THE COURT:    On the defense team, anything I need to

   15    know before I bring them in and get them going?

   16              MR. SADOW:    No, Your Honor.

   17              THE COURT:    Very good.    Let's round them up.

   18          (Jury enters at 10:10 a.m.)

   19              THE COURT:    Please be seated, everyone.

   20              Good morning, ladies and gentlemen of the jury.          Good

   21    to see you all.     Hope everyone is doing well.      Thank you all

   22    for being here on time.

   23              As we discussed yesterday, we're going to give you the

   24    opportunity to continue deliberations.        A few words before you

   25    go back to the jury room and pick up where you left off
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    1    yesterday:

    2               We are going to be sending in, momentarily, a laptop.

    3    It is a sanitized laptop.      It is designed only to be able to

    4    view whatever evidence we've presented you with.          So that gives

    5    you a means -- if you want to pull up any of the data that was

    6    discussed, you can do that.       So keep an eye out for that.        I'm

    7    going to have Gracie, my courtroom deputy, send it back to you

    8    all.

    9               In just a little bit also, there will be a knock on the

   10    door.    Cuban coffee will arrive.     For those who need it, it'll

   11    be brought.    And whatever is left over, we give it to the

   12    lawyers.    We worry about you first.      So we're going to take

   13    care of you guys.

   14               You should have already gotten menus.       In about an hour

   15    or two, Gracie will come in to take your orders, and we can go

   16    ahead and make sure we bring lunch to you.         That way, you don't

   17    have to worry about breaking up your deliberations.          You guys

   18    can continue focused on your work.

   19               My plan is to let you do what you need to do.        All

   20    right?   Just keep your ear out in case we do some minor

   21    interruptions to bring you food or anything else you need.

   22               Of course, remember what the rules were yesterday.          If

   23    there is a question, you are to write it on a piece of paper.

   24    Never indicate to me what the count is, meaning, who's on what

   25    side of what.     I don't need to know anything about that.        And
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    1    if you do send me a question, I will in all likelihood answer

    2    it either in writing or by bringing you to the courtroom.           But

    3    while I am checking in on the question, you are free to

    4    continue to deliberate.      Okay?

    5              One other note.     There is a restroom in there.      I would

    6    ask that if someone takes a restroom break, just put a pause or

    7    the conversation so that you're all in the same room talking

    8    about it together.     All right?

    9              Well, without further adieu, I'll let you all head back

   10    there.   Look out for the laptop and the coffee in the next

   11    20 minutes.    Okay?   You are all free to continue deliberating.

   12              Thank you.

   13              THE COURT SECURITY OFFICER:      All rise.

   14          (Jury exits at 10:12 a.m.)

   15              THE COURT:    Please be seated.

   16              By the way, I was just kidding.       There is a batch being

   17    made for you too.      You don't get the leftovers.      But it's not

   18    ready yet.    So if you wait around a minute, you can get it

   19    before you guys head out the door.

   20              I think we have numbers to reach you all.         If you guys

   21    are going to be away from the courthouse, just in case we have

   22    a question, please make sure Gracie has a phone number where we

   23    can reach you so we can bring you back in case anything

   24    develops.    Okay?

   25              Anything else from the government before we break?
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    1              MS. DE BOER:    No, Your Honor.     Thank you.

    2              THE COURT:    Anything else, Mr. Sadow?

    3              MR. SADOW:    No, Your Honor.

    4              THE COURT:    All right, guys.     Hang tight.    Coffee is on

    5    its way, and then you're free to go.

    6              Thank you, guys.     We're in recess.

    7              THE COURT SECURITY OFFICER:      All rise.

    8          (Court recessed at 10:13 a.m.)

    9          (Back on the record at 4:37 p.m.)

   10              THE COURT:    We have a question from our jurors that

   11    reads as follows:      "Dear Judge, we have a question regarding

   12    Counts 2 through 4.      Is the allegation on Counts 2 through 4

   13    (healthcare fraud) for general healthcare fraud or only for

   14    each of the people represented in each count (HK, VH, EG)?           For

   15    example, if the verdict is guilty for Counts 2, 3, and 4, will

   16    we be giving a guilty verdict for healthcare fraud in general

   17    or for healthcare fraud in relation to only these three people,

   18    (HK, VH, and EG)?      Thank you, the jury."

   19              I think it's a question that clearly shows they're very

   20    much locked in and trying to figure this out.          I would presume

   21    that we can send something back in writing simply answering or

   22    explaining that it pertains to those people who are identified

   23    in the counts; it's not some sort of generic healthcare fraud

   24    allegation.

   25              Government's view on that?      Tell me what you guys are
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    1    thinking.

    2              MS. DE BOER:    I think that's exactly right; it pertains

    3    to the specific claims charged which pertain to those specific

    4    patients.

    5              THE COURT:    If anything, I think it's important to

    6    tether them to people and not have them generally subsume

    7    healthcare fraud allegations into those particular counts.

    8              So something to the effect of writing back and

    9    explaining -- and you had just mentioned, Ms. de Boer -- the

   10    way you stated it, I think, you were mentioning it pertains to

   11    specific -- maybe we should say that the allegations on

   12    Counts 2 through 4 pertain to specific healthcare fraud claims

   13    regarding the patients identified in those counts, something

   14    like that.

   15              MS. DE BOER:    Right.   It pertains -- those counts

   16    pertain to the specific claims for the specific patients

   17    alleged in Counts 2 through 4.

   18              THE COURT:    Something to that effect.

   19              Defense, maybe that's an artful way -- we're trying to

   20    go through it.     But certainly, I think you would agree with me,

   21    we want to make sure they realize it's tethered to those

   22    individuals; it's not a general healthcare fraud count.

   23              MR. SAMUEL:    That's correct, but it has to be a scheme

   24    to defraud.    It's not like these -- it has to be part of the

   25    scheme to defraud.      The substantive counts are no different
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    1    than wire fraud or mail fraud.       All of it has to be part of a

    2    scheme.    It can't just be, you know, we did one thing wrong

    3    with this one patient; we did one false claim.          It's got to be

    4    the overall scheme that's alleged in not only the preamble of

    5    the indictment, but the Count 1, which is incorporated into 2,

    6    3, and 4.

    7               THE COURT:    I'm not disagreeing with you there.       I just

    8    -- I don't know that there's something beyond just explaining

    9    to them the limited issue they've raised, which is they want to

   10    make sure that they're not giving a guilty verdict for

   11    healthcare fraud in general; it must be in relation to the

   12    people identified in Counts 2, 3, and 4.

   13               MR. SAMUEL:    But you can't eliminate the scheme

   14    element.    It seems like they may be confused about that,

   15    thinking there's one, you know, one errant claim that has been

   16    filed.    It has to be an errant claim in connection with the

   17    scheme to defraud, especially --

   18               MS. DE BOER:   I --

   19               THE COURT:    Yes.

   20               MS. DE BOER:   I didn't mean to interrupt you.

   21               MR. SAMUEL:    I don't have the indictment in front of

   22    me.   Count 1 is healthcare fraud and wire fraud, right?

   23               MS. DE BOER:   Count 1 is the conspiracy count.

   24               MR. SAMUEL:    Yes.   So certainly the wire fraud

   25    component has to be a part of the scheme to defraud.
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    1              MS. DE BOER:    I wonder if we can say -- because I think

    2    they're asking to just confirm that 2, 3, and 4, pertain to

    3    those specific patients.

    4              THE COURT:    That is what it is; is it for the people

    5    represented in those counts.

    6              MS. DE BOER:    Right.

    7              THE COURT:    They just want to make sure that the

    8    individuals that are identified are the individuals that those

    9    counts pertain to; that's what the question is.

   10              I don't want to overcomplicate this.        This is a very

   11    limited and easy thing.      We're not going to start getting into

   12    scheme to defraud anything.        I just want to let them know that

   13    this is -- they need to remember that the individuals that are

   14    identified in Counts 2, 3, and 4, are those related to those

   15    counts.    I mean, that's the connection that I think they're

   16    confirming.

   17              My philosophy, generally, with juror questions is less

   18    is more, and in many cases, if there's nothing to give them,

   19    direct them back to the instructions.        But I think this is a

   20    pretty clear and easy thing to clarify, that we could say

   21    something as simple as Counts 2, 3, and 4, relate to each of

   22    the people listed in those counts.        I mean, literally, that's

   23    all I think they're asking.

   24              MS. DE BOER:    I agree.

   25              THE COURT:    I mean, what harm in that?      That's
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     1    literally all -- they saw the names, and I think they want to

     2    make sure that there's something not -- there's no disconnect

     3    between the individuals in each count and the counts

     4    themselves; that's what I get out of it.        I mean, I don't know

     5    if there's more there, but I feel comfortable if we just make

     6    it very limited.

     7             What does the defense think about that?

     8             MR. SADOW:    Well, what Don is saying, and what I want

     9    to say an in a little different fashion is, take what Your

    10    Honor was going to write to the jurors, okay, and read that, if

    11    you don't mind, back to us.      And then I think something can be

    12    added to it.

    13             THE COURT:    So let me see if I can do it a little more

    14    artfully.   I'm just writing it out here so I can read it to you

    15    guys.

    16             So the jury uses the term "represented," which is an

    17    odd word choice.    I think the way to say it is:       Dear members

    18    of the jury, the allegations in Counts 2, 3, and 4, are related

    19    to the specific individuals stated in each of those counts,

    20    H.K., V.H., E.G.

    21             MR. SADOW:    Okay.   And then what I was going to suggest

    22    is, but they must be -- but each of those counts must be in

    23    furtherance of the scheme -- of the alleged scheme to defraud,

    24    something to that effect.

    25             Because here's what I think.       Again, we can all be
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     1    wrong, but what concerns us would be that they say, okay, on

     2    this particular claim, it's fraudulent, and if its fraudulent,

     3    someone is guilty.     But that doesn't make them guilty.       It only

     4    makes them guilty if it is fraudulent in furtherance of the

     5    scheme to defraud.     That's our concern.     That's why I'm trying

     6    to figure out what we can add, at the end, just to remind them

     7    it must be -- just like it must be execution or attempted

     8    execution of the scheme to defraud, something of that nature.

     9              THE COURT:   I don't know if the government wants to

    10    propose a qualifier there that we can add, as I'm writing this

    11    out.   Let me know.

    12              MS. DE BOER:   I think the way that it was just phrased

    13    is a little bit clunky and is repetitive of the instruction

    14    given on the healthcare fraud count, which the elements are:

    15    One, the defendant knowingly executed or attempted to execute a

    16    scheme.   So if they're finding, you know, for each particular

    17    patient, if they're finding that that was an execution of the

    18    scheme -- right?    They're just asking, does this pertain to a

    19    particular patient.

    20              MR. SADOW:   But the problem with that is the reference

    21    to whether it has to be a broader scheme to defraud or whatever

    22    the language was.

    23              THE COURT:   Yes.   The way they word it is -- again,

    24    we're divining it.     Because I think they're just saying -- they

    25    called it "for general healthcare fraud."        That's the line that
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     1    the -- that's the wording here, so...

     2             MR. SADOW:    And what that sets up -- again, we're

     3    divining, using your terminology.

     4             What if they don't find a general healthcare fraud?

     5    And now they're going to think -- they don't buy that, and

     6    they're saying, okay, but we think the claims in 2, 3, and 4,

     7    were false.    That's not enough to convict.      They've got to have

     8    the scheme to defraud as part of it.       That's why we're

     9    concerned about just answering it in a very simple fashion.          I

    10    think you can add something about, but they must be in

    11    furtherance or in execution of the scheme to defraud.

    12             MS. DE BOER:    But the scheme to defraud and the acts

    13    and execution of it could be one of those claims, it could be

    14    all three of those claims, it could be thousands of claims.          So

    15    they don't have to find that every single manner and means

    16    allegation was proved by the government.        They don't have to

    17    find that there was a telemedicine and telemarketing fraud

    18    conspiracy, from 2016 to 2019, to convict on Counts 2 through

    19    4.   They just have to find that one of those was an act in

    20    execution of a scheme.

    21             MR. SADOW:    That's exactly what I've said, though.        I

    22    haven't said anything about -- anything other than it must be

    23    an execution or attempted execution of a scheme to defraud.

    24             THE COURT:    Here's what I think might be the way to do

    25    it, is to simply direct them back to the main instruction on
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     1    healthcare fraud, which I believe is page 20.

     2               So maybe the way to do it -- because I can't state it

     3    better than that, and I don't want to pluck an element out of

     4    the 18 U.S.C. 1347 instruction.

     5               So perhaps we say something like, Dear members of the

     6    jury, the allegations in Counts 2, 3, and 4, are related to the

     7    specific individuals stated in each of those counts, H.K.,

     8    V.H., E.G.    You are directed to follow the healthcare fraud

     9    instructions found on page 20 as to these three counts,

    10    something like that, just to let them know that don't -- don't

    11    get it in isolation.      They have to go back and read it as it

    12    pertains to those counts.

    13               MR. SADOW:   So use that word.    You can't do it in

    14    isolation; you must relate to --

    15               THE COURT:   I don't know.   That may be a little heavy.

    16    I don't know if I want to do it, like, in isolation.         I don't

    17    want them -- I'm just trying to spin my gears here a little

    18    bit.

    19               But I would say something that would direct them, you

    20    know, maybe just say simply, you are directed to continue to

    21    rely on the healthcare fraud instruction as it pertains to

    22    Counts 2, 3, and 4, found on page 20.

    23               MS. DE BOER:   I think the way Your Honor phrased it is

    24    perfect.    It's simple, answers the question, and doesn't

    25    complicate it more.
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     1               THE COURT:   And doesn't divorce it from defense's

     2    concern, which is, I don't want them to think in isolation,

     3    there's some fraud.     That would take them away from a required

     4    element of a scheme or artifice, which -- they need to be

     5    guided by this.     So I think it brings them back to what they

     6    should be reading when they're reading these counts.

     7               How does the defense feel on that?      I can't state it

     8    better.    I just don't want to do it in isolation, without the

     9    instruction being mentioned, so I can avoid this scheme

    10    concern.

    11               MR. SADOW:   Again, we would like to have it the way we

    12    had suggested, but understanding that the Court is not inclined

    13    to go in that direction, what you have now crafted is certainly

    14    better than what it was, which is referencing it as some

    15    isolated act.

    16               THE COURT:   Okay.

    17               MR. SADOW:   So we like the language we suggested

    18    better.    We still have an objection that that language is not

    19    being used, but, otherwise, we think what the Court is

    20    indicating is accurate.

    21               THE COURT:   Okay.   Let me just finish up the last piece

    22    of it.    I want to make sure that the way I stated it makes

    23    sense.    Let's see.

    24               Okay.   So the way I have it worded is:     Dear members of

    25    the jury, the allegations in Counts 2, 3, and 4, are related to
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     1    the specific individuals stated in each of those counts, H.K.,

     2    V.H., E.G.    You are directed to follow the healthcare fraud

     3    instructions found on page 20 of the jury instructions as to

     4    Counts 2, 3, and 4.

     5               I think that brings them home so they don't -- they

     6    follow them, that they're specific, but they're also not going

     7    off script; they're staying with the instruction that pertains

     8    to those particular counts.

     9               One additional thing I would add, I think, because the

    10    jurors are also inquiring how long they're going to be here:

    11    It's about 4:50.    I'm going to just let them go till about

    12    5:30.    I'm not going to keep them here that late, like

    13    yesterday.    And I was just intending, if there's no issue, to

    14    advise them so they know I want them to keep going, you know,

    15    you will continue deliberating up until 5:30.        I'm just going

    16    to put that in there, so they know, because they were asking my

    17    CRD what time they can go to.      I just want them to plan ahead.

    18    We have their phones and all that, so they need to have a

    19    sense.

    20               MR. SADOW:   And will you be bringing them back out

    21    again?

    22               THE COURT:   Yes, for sure.

    23               MR. SADOW:   So that the Court knows, I'm going back

    24    tonight.

    25               THE COURT:   Okay.
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     1             MR. SADOW:    I don't want to miss the flight.       My Uber

     2    is at 5:30.    So if the Court will permit --

     3             THE COURT:    Of course.

     4             MR. SADOW:    -- I will not be here, but obviously he's

     5    ably represented.

     6             THE COURT:    Of course.

     7             MR. SADOW:    I will be gone tomorrow.

     8             THE COURT:    Sure.

     9             MR. SADOW:    Assuming that there's no verdict, I will be

    10    back tomorrow night.

    11             THE COURT:    That's fine, as long as I have someone at

    12    counsel table.    I plan on bringing them back tomorrow at 9:00;

    13    that's the plan.

    14             So I will send this back and I'll let you guys know.

    15    Just plan on being back here at around 5:30.

    16             MR. SADOW:    Thank you.

    17             THE COURT:    You got it, guys.     We're in recess.

    18             THE COURT SECURITY OFFICER:       All rise.

    19          (Court recessed at 4:53 p.m.)

    20          (Back on the record at 5:31 p.m.)

    21             THE COURT:    We're going to round up our jurors and

    22    excuse them so they can return tomorrow and keep deliberating.

    23             All right.    Let's go ahead and grab them.       Thank you.

    24          (Jury enters at 5:32 p.m.)

    25             THE COURT:    Please be seated, everyone.
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     1             Ladies and gentlemen of the jury, let me first begin by

     2    thanking all of you for your incredible hard work.         We know

     3    that you are obviously paying very close attention to all the

     4    evidence, and reviewing everything that has been admitted, and

     5    we can't ask for anything more.

     6             We've given you a full day, and the time has come to

     7    make sure you guys can get home and get some rest.         Okay?   We

     8    are going to resume tomorrow at 9:00, not at 10:00.         So we're

     9    going to put in another day, same protocol as today.         Soon as

    10    everybody is here, I'll do a headcount out here in court, send

    11    you guys back to deliberate and pick up exactly where you left

    12    off.

    13             Of course, when you go home, if anyone asks, anyone

    14    wants to know what's going on, I need to emphasize that this is

    15    the most critical phase of the entire case in that you are in

    16    the midst of deliberations.      All the rules I have been

    17    repeating in the last two weeks are now even more important.

    18             You cannot, while you're in this phase of the

    19    proceedings, go online, look anything up, do any independent

    20    research, certainly no mention of what's going on on social

    21    media, and definitely no discussion with family, or friends, or

    22    anyone outside of your fellow jurors when you're back in the

    23    room tomorrow.    Those rules are sacred, and it's very important

    24    that you all continue to follow them until we reach a verdict

    25    in this case.
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     1             Now, tomorrow, when you're all in, all I'm going to do

     2    is do the headcount.     I will do the exact same thing with the

     3    menus.   I'll send in the menus.     We'll take care of lunch again

     4    tomorrow, like we did today, so we don't interrupt you all.

     5             I believe you all received the response, after

     6    consulting with the lawyers, to your question.         That process

     7    you used was exactly what you're supposed to do.         So if

     8    anything else comes up, you write the question, give me a

     9    moment, I'll check with the lawyers, we will all confer, and

    10    we'll send you back a written response.        So if anything else

    11    comes up, you guys handled it exactly the way it should.

    12             With that being said, I want to have you guys get home,

    13    get home safe, have a wonderful evening, get some rest.          One

    14    thing I've always found in my years of doing this job is that

    15    especially in complicated cases like this one, where there's a

    16    lot of evidence, it helps to spend time getting everyone's

    17    perspective, then going home, letting it filter in your mind,

    18    sleeping on it, and returning with energy to pick up where

    19    you've left off.    It's good for the deliberation process.        I

    20    want you guys to use this downtime, before you return tomorrow,

    21    wisely and get some rest.

    22             So with that being said, hope everyone has a good

    23    night.   Make sure you leave your notepads and anything else.

    24    We'll seal up the room.     It'll be the same exact way as you

    25    left it when you get here tomorrow morning.
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     1               We'll see you all tomorrow.     You are excused.

     2               THE COURT SECURITY OFFICER:     All rise for the jury.

     3            (Jury exits at 5:35 p.m.)

     4               THE COURT:   All right, everyone.    We're in recess.

     5               So tomorrow, 9:00 a.m.    Again, whoever wants to appear

     6    on either side, just so we have someone on behalf of each side,

     7    that's all we need.       I just plan on making sure we have a

     8    headcount and sending them back in, and we'll be in touch after

     9    that.

    10               All right.   Any other issues before I let you all go?

    11               MS. DE BOER:    No, Your Honor.

    12               MR. RAFFERTY:    No, Your Honor.

    13               THE COURT:   All right.   Have a great evening.     We'll

    14    see you guys tomorrow.      We're in recess.

    15               MS. DE BOER:    Thank you.

    16            (Court recessed at 5:36 p.m.)
                                 C E R T I F I C A T E
    17

    18                I hereby certify that the foregoing is an

    19    accurate transcription of the proceedings in the

    20    above-entitled matter.

    21
          DATE:    December 14, 2022 /s/Ilona Lupowitz
    22                               ILONA LUPOWITZ, CRR, RPR, RMR
                                     Official Court Reporter
    23                               United States District Court
                                     299 East Broward Boulevard
    24                               Fort Lauderdale, Florida 33301
                                     (954) 769-5568
    25
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